                Case 1:10-cr-00285-JLT Document 39 Filed 10/19/11 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    FRANCINE ZEPEDA, Bar #91175
     JEREMY S. KROGER, Bar #258956
3    Assistant Federal Defender
     Designated Counsel for Service
4    2300 Tulare Street, Suite 330
     Fresno, California 93721-2226
5    Telephone: (559) 487-5561
6    Attorney for Defendant
     RUDOLPH BUENDIA, III
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            No. 1:10-cr-00285 LJO
                                           )
12                 Plaintiff,              )
             v.                            )            STIPULATION TO CONTINUE MOTION
13                                         )            HEARING AND ORDER
     FIRM BUILD, INC., et al,              )
14                                         )            Date: November 14, 2011
                   Defendants.             )            Time: 1:00 p.m.
15                                         )            Judge: Hon. Lawrence J. O’Neill
     _____________________________________ )
16
17
18            IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
19   respective attorneys of record herein, that the motions hearing currently set for October 21, 2011, may be
20   continued to November 14, 2011, at 1:00 p.m.
21            The request is made by Counsel for the defendants. There is a Motion for Discovery pending.
22   This motion was continued to allow the parties to complete the review of discovery. Counsel for Mr.
23   Buendia and the other defendants are still completing their review of the discovery. Counsel is compiling
24   a list of documents which they will request from the government. Counsel intends to meet and confer
25   during this time period in order to be prepared on November 14, 2011, to advise the Court of the status of
26   the discovery process. The requested continuance will conserve time and resources for all parties and the
27   Court.
28   ///
                Case 1:10-cr-00285-JLT Document 39 Filed 10/19/11 Page 2 of 3


1                The parties agree that the delay resulting from the continuance shall be excluded in the interests
2    of justice herein for good cause pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B) for effective defense
3    preparation.
4                                                                 BENJAMIN B. WAGNER
                                                                  United States Attorney
5
6    DATED: October 19, 2011                               By      /s/ Samuel Wong
                                                                  SAMUEL WONG
7                                                                 Assistant United States Attorney
                                                                  Attorney for Plaintiff
8
9                                                                 DANIEL J. BRODERICK
                                                                  Federal Defender
10
11   DATED: October 19, 2011                               By      /s/ Francine Zepeda
                                                                  FRANCINE ZEPEDA
12                                                                Assistant Federal Defender
                                                                  Attorney for Defendant
13                                                                RUDOLPH BUENDIA, III
14
15   DATED: October 19, 2011                               By      /s/ Douglas C. Foster
                                                                  DOUGLAS C. FOSTER
16                                                                Ciummo and Associates
                                                                  Attorney for Defendant
17                                                                Joseph Cuellar
18
19   DATED: October 19, 2011                               By      /s/ Cadee Peters
                                                                  CADEE PETERS
20                                                                Cadee Peters Attorney at Law
                                                                  Attorney for Defendant
21                                                                Patrick Bowman
22   ///
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26   ///
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     Buendia - Stipulation to Continue
     Motion Hearing and Proposed Order
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                Case 1:10-cr-00285-JLT Document 39 Filed 10/19/11 Page 3 of 3


1                                                     ORDER
2             The Court, having reviewed the above request to continue the Motion hearing now set for October
3    21, 2011, and good cause appearing, HEREBY ORDERS AS FOLLOWS: The Motion hearing currently
4    scheduled for October 21, 2011, is continued to November 14, 2011. The intervening period of delay is
5    excluded in the interests of justice pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
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8
9    IT IS SO ORDERED.
10   Dated:      October 19, 2011                    /s/ Lawrence J. O'Neill
     b9ed48                                      UNITED STATES DISTRICT JUDGE
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     Buendia - Stipulation to Continue
     Motion Hearing and Proposed Order
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